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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

~-- Xx
BEVON LOYBE TRAIL,
Plaintiff,
Vv. : ORDER
NEW YORK STATE DEPARTMENT OF 17 CV 7273 (VB)
CORRECTIONS AND COMMUNITY
SUPERVISION,

 

Today, the Court held an on-the-record conference that was attended by plaintiff and
counsel for defendant. Plaintiff advised the Court that the “notice of motion” Ms. Shirley
Dimps emailed to the Pro Se Clerk (see Doc. #106) is the same document plaintiff mailed to the
Court (see Docs. ##107, 108). The Court construed plaintiff's mailed documents as a motion
for reconsideration and denied that motion. (Doc. #108).

Accordingly, it is HEREBY ORDERED:

1, The notice of motion is terminated as duplicative. (Doc. #106).

2. Plaintiff may not have non-lawyers file documents, by mail or by email, on his
behalf.

3. The parties shall discuss settlement in good faith. Plaintiff is directed to contact
the New York Legal Assistance Group for guidance with the settlement negotiation process.

4, The next conference in this case is scheduled for December 17, 2020, at 2:30
p.m. Plaintiff and defendant’s counsel shall attend by calling the following number and entering
the access code when requested:

Number: (888) 363-4749 (toll-free) or (215) 446-3662

Access Code: 1703567

 

Defendant. : fog, / O) / / G Ji 40
Copies, VF axed
x Chambers-of Vincent L. Briccetti Shaws

 
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Chambers will mail a copy of this Order to plaintiff at the address on the docket.
The Clerk is directed to terminate motion. (Doc. #106).

Dated: October 16, 2020
White Plains, NY
SO ORDERED:

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_ Vincent L. Briccetti
United States District Judge

 
